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                                  6                                UNITED STATES DISTRICT COURT
                                  7                           NORTHERN DISTRICT OF CALIFORNIA
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                                         CITCON USA, LLC,                                    Case No. 18-cv-2585-NC
                                  10
                                                      Plaintiff,
                                  11                                                         JUDGMENT
                                                v.
Northern District of California




                                  12
 United States District Court




                                         RIVERPAY, INC., YUE “YORK” HUA, and
                                  13     KENNY E. SHI,
                                  14                  Defendants.
                                  15
                                  16
                                  17     RIVERPAY, INC., and KENNY E. SHI,
                                  18                  Counter-Claimants,
                                  19            v.
                                  20     CITCON USA, LLC, and WEI JIANG,
                                  21                  Counter-Defendants.
                                  22
                                  23
                                             Plaintiff Citcon filed this case in May 2018. Dkt. No. 1. Defendants RiverPay, Yue
                                  24
                                       “York” Hua, and Kenny Shi filed a counterclaim against Citcon and its executive Wei
                                  25
                                       Jiang, along with a motion to strike and a motion to dismiss. Dkt. Nos. 22, 23, 24.
                                  26
                                       Counter-defendants Citcon and Jiang filed a motion to dismiss the counterclaims. Dkt. No.
                                  27
                                       34. The Court denied Citcon and Jiang’s motion to dismiss. Dkt. No. 49. The Court
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                                  1    granted in part and denied in part the defendants’ motion to dismiss and denied the motion
                                  2    to strike, granting Citcon leave to amend the complaint. Dkt. Nos. 52, 54. Citcon filed an
                                  3    amended complaint and the Court again granted in part and denied in part the defendants’
                                  4    motion to dismiss, again granting leave to amend. Dkt. Nos. 58, 63, 64, 98. Citcon filed a
                                  5    Third Amended Complaint and the Court denied the defendants’ motion to dismiss. Dkt.
                                  6    Nos. 103, 109, 131.
                                  7           Citcon’s operative complaint was re-filed with appropriate redactions at Dkt. No.
                                  8    136. The claims that remained in the operative complaint were for trade secret
                                  9    misappropriation, conversion of funds, conversion of a POS device, and unfair
                                  10   competition. Dkt. No. 136. The counterclaims were for trade libel, defamation,
                                  11   interference with contractual relations, interference with prospective economic relations,
                                       unfair competition, breach of contract, and breach of the implied covenant of good faith
Northern District of California




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                                  13   and fair dealing. Dkt. No. 23.
                                  14          All parties consented to the jurisdiction of a magistrate judge under 28 U.S.C.
                                  15   636(c). Dkt. Nos. 7, 13.
                                  16      I. Plaintiff’s Claims
                                  17          A. Claims Dismissed by the Court
                                  18          In the parties’ motion practice spanning Citcon’s three amended complaints, the
                                  19   Court dismissed the following claims without granting leave to amend:
                                  20          1. Breach of the duty of loyalty against defendants RiverPay, Hua, and Shi.
                                  21          2. Defamation and trade libel against defendants RiverPay, Hua, Shi, and Hank
                                  22             Miao (who was subsequently dismissed from the case at Dkt. No. 131).
                                  23          3. Computer fraud and abuse against defendants RiverPay, Hua, and Shi.
                                  24          4. Intentional interference with contractual relations against defendants RiverPay,
                                  25             Hua, and Shi.
                                  26          5. Intentional interference with prospective economic relations against defendants
                                  27             RiverPay, Hua, and Shi.
                                  28          6. Unfair competition against defendants Hua and Shi.
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                                  1           Therefore, judgment is hereby entered in favor of the defendants listed above and
                                  2    against plaintiff Citcon as to all of those claims. Dkt. No. 98.
                                  3           B. The Operative Complaint Adjudicated by Jury and Bench Trial
                                  4           Plaintiff Citcon’s operative complaint in this case brought claims for trade secret
                                  5    misappropriation, conversion of funds, conversion of a POS device, and unfair
                                  6    competition. Dkt. No. 136. As to those claims, judgment is hereby entered as follows:
                                  7           1. Trade secret misappropriation of source code: judgment is entered in favor of
                                  8              plaintiff Citcon and against defendant RiverPay in the amount of $1.5 million.
                                  9              Trial Transcript 959:1–16. Judgment is entered against Citcon and in favor of
                                  10             defendants Hua and Shi.
                                  11          2. Trade secret misappropriation of POS designs, customer lists, transaction
                                                 information, and business plans: judgment is entered against plaintiff Citcon and
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 United States District Court




                                  13             in favor of defendants RiverPay, Hua, and Shi.
                                  14          3. Conversion of funds: judgment is entered in against plaintiff Citcon and in favor
                                  15             of defendants RiverPay, Hua, and Shi.
                                  16          4. Conversion of POS device: judgment is entered against plaintiff Citcon and in
                                  17             favor of defendant RiverPay. Judgment is entered in favor of plaintiff Citcon
                                  18             and against defendant Hua in the amount of $301.76.
                                  19          5. Unfair competition: judgment is entered against plaintiff Citcon and in favor of
                                  20             defendants RiverPay, Hua, and Shi.
                                  21      II. Defendants’ Counter-Claims
                                  22          Defendants and counter-claimants RiverPay and Kenny E. Shi filed a counter-
                                  23   complaint against Citcon and its executive, Wei Jiang, for trade libel, defamation,
                                  24   interference with contractual relations, interference with prospective economic relations,
                                  25   unfair competition, breach of contract, and breach of the implied covenant of good faith
                                  26   and fair dealing.
                                  27          1. Trade libel: judgment is entered against counter-claimants RiverPay and Shi and
                                  28             in favor of counter-defendants Citcon and Jiang.
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                                  1           2. Intentional interference with contractual relations: judgment is entered against
                                  2              counter-claimants RiverPay and Shi and in favor of counter-defendants Citcon
                                  3              and Jiang.
                                  4           3. Intentional interference with prospective economic relations: judgment is
                                  5              entered against counter-claimants RiverPay and Shi and in favor of counter-
                                  6              defendants Citcon and Jiang.
                                  7           4. Unfair competition: judgment is entered against counter-claimants RiverPay and
                                  8              Shi and in favor of counter-defendants Citcon and Jiang.
                                  9           5. Breach of contract: judgment is entered against counter-defendant Citcon and in
                                  10             favor of counter-claimant Shi in the amount of $29,999.99. Trial Transcript
                                  11             1394:22–25.
                                              C. Conclusion
Northern District of California




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 United States District Court




                                  13          In accordance with the Court’s orders on the defendants’ motions to dismiss the
                                  14   Second Amended Complaint at Dkt. No. 98, the jury’s verdict at Dkt. No. 487, and the
                                  15   Court’s rulings on the claims brought for bench trial, judgment is entered as detailed
                                  16   above. The clerk is ordered to terminate Case No. 18-cv-02585-NC.
                                  17
                                  18          IT IS SO ORDERED.
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                                  20   Dated: September 8, 2020                  _____________________________________
                                                                                       NATHANAEL M. COUSINS
                                  21                                                   United States Magistrate Judge
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